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13 STEADFAST NETWORKS, LLC
14                         UNITED STATES DISTRICT COURT
15                     CENTRAL DISTRICT COURT OF CALIFORNIA
                                 WESTERN DIVISION
16
17      ALS SCAN, INC.,                            Case No.: CV 16-5051-GW(AFMx)
18      a Maryland Corporation,
                                                   JUDGMENT IN FAVOR OF
19      Plaintiff,                                 DEFENDANT STEADFAST
20                                                 NETWORKS, LLC.
        v.
21                                                 Place: Courtroom 9D, 9th Fl.
22      CLOUDFLARE, INC.                                  350 West 1st Street
        a Delaware corporation,                           Los Angeles, CA, 90012
23
        et al.                                     Judge: Hon. George H. Wu
24
25      Defendants.
26
27
28



                     [PROPOSED] JUDGMENT IN FAVOR OF DEFENDANT STEADFAST NETWORKS, LLC.
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        On March 30, 2018, the Court granted Defendant Steadfast Networks LLC’s
  (“Steadfast”) motion for summary judgment on ALS Scan, Inc.’s (“ALS”) claims of
  contributory copyright infringement, vicarious copyright infringement, and
  contributory trademark infringement, resolving all claims against Steadfast with
  prejudice. See Dkt. 443. The Court now issues a final judgment on all of ALS’s
  claims, including:
        1. Contributory Copyright Infringement. ALS’s claim of contributory
           copyright infringement against Steadfast is dismissed with prejudice. Dkt.
           443.
        2. Vicarious Copyright Infringement. ALS’s claim of vicarious copyright
           infringement against Steadfast is dismissed with prejudice. Dkt. 443.
        3. Contributory Trademark Infringement. ALS’s claim of contributory
           trademark infringement against Steadfast is dismissed with prejudice. Dkt.
           443.
        The Court GRANTS FINAL JUDGMENT in favor of Steadfast and against
  ALS as to all the claims by ALS in the case.


  IT IS SO ORDERED.


  Dated: April 30, 2018                          ________________________
                                                 GEORGE H. WU,
                                                 United States District Judge
